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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

MATTHEW J. PEASE,                   )
                                    )
                                    )
       Plaintiff,                   )
                                    )
        v.                          )                 CASE NO. 7:24-cv-00322-DC-RCG
                                    )
                                    )
SECURITIES AND EXCHANGE             )
COMMISSION, et al.                  )
                                    )
                                    )
        Defendants.                 )
___________________________________ )

                         NOTICE OF APPEARANCE OF COUNSEL

       Plaintiff Securities and Exchange Commission submits this notice of appearance of Jason

J. Rose, who certifies that he is an attorney admitted to practice before this Court, and respectfully

requests that Jason J. Rose receive all notices and orders from the Court as well as service of all

documents by other parties.

Dated: February 28, 2025                       Respectfully Submitted,


                                               /s/ Jason J. Rose
                                               Melinda Hardy *
                                               D.C. Bar No. 431906
                                               Eric A. Reicher*
                                               D.C. Bar No. 490866
                                               Securities and Exchange Commission
                                               100 F Street NE
                                               Washington, DC 20549
                                               (202) 551-7921 (phone) (Reicher)
                                               hardym@sec.gov
                                               reichere@sec.gov

                                               Jason J. Rose
                                               Texas Bar No. 24007946
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                                            Securities and Exchange Commission
                                            801 Cherry Street, Suite 1900
                                            Fort Worth, Texas 76102
                                            (817) 978-1408 (phone)
                                            (817) 978-4927 (facsimile)
                                            rosej@sec.gov

                                            Counsel for Defendant SEC

                                            * Pro Hac Vice Forthcoming

                               CERTIFICATE OF SERVICE

       I affirm that on February 28, 2025, I electronically filed the foregoing document with the
Clerk of the Court for the Western District of Texas, Midland-Odessa Division, by using the
CM/ECF system which will send a notice of electronic filing to all CM/ECF participants.

       A paper copy of this notice has also been mailed to Plaintiff Matthew J. Pease at the
following address:

       1 Cobbler Lane
       Amherst, NH 03031

                                            /s/ Jason J. Rose
                                            Jason J. Rose




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